UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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NUNEZ,                                                                 :
                                                                       :
                                    Plaintiff,                         :          11-CV-5845 (LTS)
                                                                       :
                  -v-                                                  :
                                                                       :
CITY OF NEW YORK, et al.,                                              :
                                                                       :
                                    Defendants.                        X

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                                                     ORDER

                  The Court has received and reviewed carefully the proposed action plan (docket

entry no. 462), the Monitoring Team’s status update (id.), the letter from Defendants in support

of the proposed action plan (docket entry no. 463), and the letter from Plaintiffs setting forth

their position on the proposed action plan and requesting that the Court set a briefing schedule

for a motion for contempt (docket entry no. 464).

                  The Court has approved and entered the proposed action plan, with minor

modifications to Section H of the proposed plan. (See docket entry no. 465.) The Court’s

modifications remove the references and findings pursuant to 18 U.S.C. section 3626(a)(1)(B).

The letter from Defendants in support of the proposed plan explicitly states that Defendants’

position is that “the [p]lan is entirely within the power of the Commissioner, and more broadly

the Mayor, to execute.” (Docket entry no. 463.) Therefore, the Court concludes that making

findings pursuant to 18 U.S.C. section 3626(a)(1)(B) is unnecessary at this juncture.

                  In light of the contemplated reforms proposed within the action plan, Defendants’

assurance that the plan is “entirely within the power of the Commissioner” and the Mayor to



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execute, and Defendants’ commitment “to seeking appropriate relief” should they encounter

legal barriers to implementation of the plan (docket entry no. 463), the Court denies Plaintiffs’

request to set a briefing schedule for a potential contempt motion at this time. This action plan

represents a way to move forward with concrete measures now to address the ongoing crisis at

Rikers Island. The Court has approved the proposed measures contained with the action plan, in

full recognition that further remedial relief may be necessary should Defendants not fulfill their

commitments and demonstrate their ability to make urgently needed changes.

               The Court hereby schedules a status conference to be held on November 17,

2022, at 2:30 p.m., following the issuance of the Monitoring Team’s October 28, 2022, status

report, in order to discuss the Defendants’ implementation of the action plan and whether

adoption of a briefing schedule for a motion for contempt is warranted based on Defendants’

progress in achieving the meaningful reform set forth in the action plan, including in meeting the

plan’s deadlines for compliance. The Monitoring Team and the parties are directed to meet and

confer following the issuance of the October 28, 2022, status report, and the Court directs the

Monitoring Team to file a status update by November 14, 2022, at 12:00 p.m. (noon), as to the

parties’ proposed next steps, including any proposed motion briefing schedule.


 SO ORDERED.


Dated: June 14, 2022                                         __/s/ Laura Taylor Swain____
       New York New York                                     LAURA TAYLOR SWAIN
                                                             Chief United States District Judge




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